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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-CV-81883-RAR

  BRITTANY ROBERSON, et al.,
  individually and on behalf of all
  others similarly situated,

         Plaintiffs,

  v.

  HEALTH CAREER INSTITUTE LLC, et al.,

        Defendants.
  _______________________________________________/

                         REVISED AMENDED SCHEDULING ORDER

         THIS CAUSE comes before the Court on the Joint Motion to Clarify and Correct or

  Amend Scheduling Order (“Joint Motion”), [ECF No. 191]. Having considered the Joint Motion,

  and being otherwise fully advised, the Court finds good cause to amend its previous Amended

  Scheduling Order, [ECF No. 186], as set forth herein. Accordingly, it is hereby

         ORDERED AND ADJUDGED as follows:

         1.      Plaintiffs shall file their Motion for Certification of a Rule 23 Class of no more than

  thirty-five (35) pages on or before April 5, 2024. Upon the filing of Plaintiffs’ Motion for

  Certification of a Rule 23 Class, Defendants shall file a response of no more than thirty (30) pages

  within twenty (20) days. Thereafter, Plaintiffs shall file a reply to Defendants’ Response of no

  more than fifteen (15) pages within fourteen (14) days.

         2.      Should the parties fail to reach a resolution of this dispute at either the settlement

  conference or mediation, the Court shall reinstate the fact discovery deadline and all other

  remaining deadlines, as necessary. In the interim, the Court declines to permit fact discovery



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  unrelated to the issue of class certification in the interest of judicial economy and to mitigate the

  cost of ongoing litigation. Accordingly, all other deadlines in the Court’s previous Scheduling

  Orders, [ECF Nos. 111, 128], remain terminated pending the adjudication of Plaintiff’s

  forthcoming Motion for Certification of a Rule 23 Class.



         DONE AND ORDERED in Miami, Florida, this 7th day of February, 2024.



                                                            _________________________________
                                                            RODOLFO A. RUIZ II
                                                            UNITED STATES DISTRICT JUDGE




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